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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   DAVID ALLEN GILLUM,

 9                              Plaintiff,                 CASE NO. 2:19-cv-01859-RSM-BAT

10           v.                                            ORDER STRIKING PLAINTIFF’S
                                                           MOTION TO SET FOR TRIAL AS
11   DEAN OWENS, et al.,                                   MOOT, DIRECTING DEFENDANTS
                                                           TO COMPLY WITH
12                              Defendants.                OUTSTANDING DISCOVERY
                                                           REQUESTS, AND DIRECTING
13                                                         PLAINTIFF TO FILE AN
                                                           AMENDED COMPLAINT BY
14                                                         NOVEMBER 20, 2020

15          Pro se plaintiff moves to set this matter for trial. Dkt. 56. The Court STRIKES that

16   motion as mooted (that is, rendered unnecessary) by Chief Judge Martinez’s Order Adopting the

17   Report and Recommendation. Dkt. 57; see Dkt. 53.

18          Plaintiff earlier sought to compel discovery but had submitted his requests too late given

19   the discovery cutoff date. Dkts. 50, 51. The Court will be resetting the discovery deadline once

20   plaintiff has filed his amended complaint. The Court DIRECTS defendants to comply with

21   plaintiff’s outstanding discovery requests if they have not already done so.

22
     ORDER STRIKING PLAINTIFF’S MOTION
23   TO SET FOR TRIAL AS MOOT, DIRECTING
     DEFENDANTS TO COMPLY WITH
     OUTSTANDING DISCOVERY REQUESTS,
     AND DIRECTING PLAINTIFF TO FILE AN
     AMENDED COMPLAINT BY NOVEMBER
     20, 2020 - 1
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 1          As noted in Chief Judge Martinez’s Order and the Report and Recommendation, certain

 2   claims and defendants were dismissed and plaintiff was afforded the opportunity to file an

 3   amended complaint. Dkts. 53, 57. The Court DIRECTS plaintiff to file an amended

 4   complaint consistent with the Order and Report and Recommendation by November 20,

 5   2020. Plaintiff’s failure to file an amended complaint by that time could be considered an

 6   admission that plaintiff no longer seeks to pursue this case.

 7      The Clerk shall provide a copy of this order to the parties

 8          DATED this 21st day of October, 2020.

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                                                           BRIAN A. TSUCHIDA
11                                                         Chief United States Magistrate Judge

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     ORDER STRIKING PLAINTIFF’S MOTION
23   TO SET FOR TRIAL AS MOOT, DIRECTING
     DEFENDANTS TO COMPLY WITH
     OUTSTANDING DISCOVERY REQUESTS,
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     AMENDED COMPLAINT BY NOVEMBER
     20, 2020 - 2
